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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



 Criminal Case No. 17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 KAREN LYNN McCLAFLIN,
     Defendants.

 _____________________________________________________________________

  [PROPOSED] ORDER RE: DEFENDANT’S MOTION FOR LEAVE TO FILE REPLY
                             BY JULY 3, 2020
 _____________________________________________________________________

       The Court having reviewed Defendant’s Motion for Leave to File Reply by July 3,

 2020, and being sufficiently advised, hereby Orders that the request is GRANTED.

 Defendant is permitted to file a Reply to the Probation Response to Motion for

 Compassionate Release [Doc. 121] and the Government’s Response to Defendant’s

 Motion for Compassionate Release [Doc 122] on or before July 3, 2020.


       DATED: __________________

                                                BY THE COURT:

                                                _____________________________
                                                CHRISTINE M. ARGUELLO
                                                United States District Judge




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